      Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 1 of 6



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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO DIVISION
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12
     UNITED STATES OF AMERICA                   )      Case Nos. CR-13-566-EMC
13                                              )                CR-15-246-EMC
                                                )
14                        Plaintiff,            )      DEFENDANT ROBERT LEE’S
                                                )      SENTENCING MEMORANDUM
15                                              )
            vs.                                 )
16                                              )
     ROBERT LEE, et al.,                        )      Date: November 18, 2015
17                                              )      Time: 2:30 p.m.
                                                )      Court: Honorable Edward M. Chen
18                        Defendants.           )
                                                )
19
20                                     I. INTRODUCTION
21          In this Accessory After the Fact and Arson case, the parties have crafted a Rule
22   11(c)(1)(C) and 11(c)(1)(A) plea agreement that requests the Court to sentence Mr. Lee to
23   a reasonable sentence of 84 months under the sentencing factors enumerated in 18 U.S.C.
24   § 3553(a). In recommending a 84 month sentence, the United States Probation Office
25   recognized that a below Sentencing Guideline sentence is appropriate in this case and
26   took into careful consideration a variety of factors at play in Mr. Lee’s case, including
27   being raised by a single parent with mental health and alcohol issues, substance abuse,
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      Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 2 of 6



 1   homelessness, relatively minor drug related criminal history, and positive strides prior to
 2   being arrested. The defense submits that, under all the factors that this Court should
 3   consider, a sentence of 84 months is sufficient to adequately impress upon Mr. Lee the
 4   seriousness of his conduct, while addressing some of the sentencing objectives of just
 5   punishment, rehabilitation, and deterrence as listed in U.S.C. § 3553(a).
 6                                        II. ARGUMENT
 7          In light of the Court’s statements at the sentencing hearing on October 14, 2015,
 8   that the Court was prepared to accept the Plea Agreement in this matter, Mr. Lee will
 9   briefly address several sentencing related issues below.
10          A. GED Verification.
11          The PSR at Paragraph 61 states that verification is pending of Mr. Lee’s GED.
12   Attached as Exhibit A is a true and correct copy of Mr. Lee’s GED transcript showing
13   that he passed his GED.
14          B. Designation.
15          As noted in the PSR at Paragraph 61, Mr. Lee is interested in obtaining skills in
16   electrical, HVAC, plumbing or trucking. Mr. Lee has researched the programs available
17   for inmates at various institutions and would request that the Court recommend to the
18   Bureau of Prisons that Mr. Lee be designated to FCI Terminal Island located in San
19   Pedro, California, so that Mr. Lee can take advantage of the job training programs
20   available at that institution.
21          Alternatively, as noted by paragraph 57 of the PSR, Mr. Lee desires to participate
22   in the life of his 6 year old daughter, Willow Lee. Thus, should space not be available at
23   FCI Terminal Island, Mr. Lee would request that the Court recommend to the Bureau of
24   Prisons that Mr. Lee be designated to FDC SeaTac located in Seattle, Washington so that
25   he can be close to his daughter and her mother who live in the Seattle, Washington area.
26          C. Restitution.
27          After the PSR had been prepared, the defense received a Victim Impact Statement
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                                                 -2-
      Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 3 of 6



 1   and a request for restitution from Reetpaul Rana’s mother, Jasbir K. Hanjan. Under 18
 2   U.S.C. § 3663A(a)(2), the Court shall order restitution to “a person directly and
 3   proximately harmed as a result of the commission of the offense . . .” In other words,
 4   restitution is proper only for losses directly resulting from a defendant’s offense. Gall v.
 5   United States, 21 F.3d 107 (6 th Cir. 1994) (restitution may not be imposed to repay
 6   government for investigative costs); United States v. Mullins, 971 F.2d 1138 (4 th Cir.
 7   1992) (restitution under the Victim Witness Protection Act cannot include consequential
 8   damages); United States v. Kenney, 789 F.2d 783 (9 th Cir. 1986) (restitution cannot
 9   include wages for employees while they testified). In this case, Mr. Lee has been
10   convicted of being an accessory after the fact and of arson in burning Mr. Rana’s car.
11   The harm that arises from the commission of these offenses is the value of M r. Rana’s
12   1996 Saab, which M s. Hanjan estimates at $2,000. M r. Lee is prepared to accept a
13   restitution order in that amount.
14          D. Credit for Time Served
15          Mr. Lee understands that the determination of Mr. Lee’s credit for the time he has
16   already served in custody will ultimately be determined by the Bureau of Prisons.
17   Nevertheless, undersigned counsel details here what undersigned counsel’s non-binding
18   understanding of the state of Mr. Lee’s custody credits.
19          As detailed by paragraphs 23 and 5 of the PSR, Mr. Lee was arrested for the
20   murder of Reetpaul Rana on October 19, 2011, and was in continuous state custody until
21   August 29, 2013. He was then arrested for this federal case involving the same
22   underlying facts as the state case and has been in continuous Federal custody since
23   August 30, 2013. Also on August 30, 2013, the State of California dismissed the charges
24   against Mr. Lee. PSR paragraph 24. Under 18 U.S.C. § 3585(b)(1), Mr. Lee “shall be
25   given credit toward the service of a term of imprisonment for any time he has spent in
26   official detention prior to the date the sentence commences– as a result of the offense for
27   which the sentence was imposed . . . that has not been credited against another sentence.”
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                                                 -3-
      Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 4 of 6



 1   Since the California State charges were dismissed on August 30, 2013, none of the time
 2   Mr. Lee has been in custody since October 19, 2011, has been credited against another
 3   sentence. Therefore, the Bureau of Prisons ought to give custody credits to Mr. Lee for
 4   the entire time he has been in custody since October 19, 2011.
 5
 6                                      IV. CONCLUSION
 7          For the foregoing reasons, the defense respectfully submits that a sentence of 84
 8   months of custody is sufficient to fulfill the statutory mandate of 18 U.S.C. § 3553(a).
 9   Dated: November 11, 2015                          Respectfully Submitted
                                                       TAMOR & TAMOR
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11                                                                 /S/
                                                       _________________________
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                                                       Attorneys for Defendant,
13                                                     Robert Lee
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Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 5 of 6




           EXHIBIT A
Case 3:13-cr-00566-EMC Document 214 Filed 11/11/15 Page 6 of 6
